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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

    Civil Action No.: 1:17-CV-01636-WJM-MJW

    DIGITALGLOBE, INC., a Delaware corporation, and
    DIGITALGLOBE INTELLIGENCE SOLUTIONS, INC., a Delaware corporation,

           Plaintiffs,

    v.

    LOU PALADINO, an individual
           Defendant.


                             AMENDED COMPLAINT AND JURY DEMAND


           Plaintiffs, DigitalGlobe, Inc. and DigitalGlobe Intelligence Solutions, Inc. (“DGIS”)

    (collectively, “DigitalGlobe”), through counsel, Brownstein Hyatt Farber Schreck, LLP, submits

    the following Amended Complaint and Jury Demand against Defendant Lou Paladino:

                                     NATURE OF THE ACTION

           Mr. Paladino is a former employee and high-level manager at DigitalGlobe. As a

    condition of his employment, and in exchange for certain equity compensation, Mr. Paladino

    executed several binding and enforceable contracts for the protection of DigitalGlobe’s

    confidential and proprietary information. Yet while Mr. Paladino was still employed at

    DigitalGlobe, he engineered a plan to divert work from DigitalGlobe to one of DigitalGlobe’s

    major competitors. Mr. Paladino is now working for this competitor and has been actively

    soliciting other DigitalGlobe employees to leave DigitalGlobe to work with Mr. Paladino at this

    competitor. Mr. Paladino’s conduct violates a host of contractual, statutory, and common law
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    duties that Mr. Paladino owed and continues to owe to DigitalGlobe as a prior employee and

    manager.


                                                PARTIES


           1.      Plaintiff DigitalGlobe, Inc. is a Delaware corporation with its principal place of

    business in Westminster, Colorado.

           2.      Plaintiff DigitalGlobe Intelligence Solutions, Inc. is a Delaware corporation with

    its principal place of business in Herndon, Virginia.

           3.      Upon information and belief, Defendant Lou Paladino is an individual residing at

    6812 6th Street NW, Washington, DC 20012.


                                    JURISDICTION AND VENUE

           4.      This Court has subject matter jurisdiction under 28 U.S.C. § 1332 because this is

    an action between citizens of different states and the amount in controversy exceeds $75,000.

           5.      Among other things, this action seeks to enforce certain binding contracts

    between DigitalGlobe and Mr. Paladino, including: (i) the Employee Invention, Confidential

    Information, Noncompetition and Non-Solicitation Agreement (the “Non-Competition

    Agreement”); (ii) the DigitalGlobe, Inc. 2007 Employee Stock Option Plan, as restated on

    February 17, 2016 (the “Stock Option Plan”); and (iii) the Employee Non-Disclosure Agreement

    (the “Non-Disclosure Agreement”). A true and correct copy of the Non-Competition Agreement

    is attached as Exhibit 1; a true and correct copy of the Stock Option Plan is attached as Exhibit

    2, and a true and correct copy of the Non-Disclosure Agreement is attached as Exhibit 3.

           6.      In Section 9(f) of the Non-Competition Agreement, the Parties agreed that “[a]ny

    disputes under this Agreement must be brought in the appropriate state courts for the State of

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    Colorado, or the U.S. District Court for the District of Colorado.” Additionally, in Section 9(f),

    Mr. Paladino explicitly consented to personal jurisdiction and venue in this Court. The Non-

    Competition Agreement further states that it is subject to Colorado law. The Stock Option Plan

    is also expressly subject to Colorado law.

            7.       Mr. Paladino is further subject to the personal jurisdiction of this Court because

    he has violated duties owed as an employee of a Colorado-based corporation, and he has taken

    intentional actions deliberately aimed at DigitalGlobe, knowing it was headquartered in Colorado

    and knowing that the brunt of the injury would be felt in Colorado.

            8.       Venue is proper in this judicial district because Section 9(f) of the Parties’ binding

    and enforceable Non-Competition Agreement provides that the U.S. District Court for the

    District of Colorado is a proper venue for any disputes arising from that agreement.

            9.       Accordingly, this Court has jurisdiction over this matter and venue is proper in

    this district.


                                       GENERAL ALLEGATIONS

            10.      DigitalGlobe, Inc. is a leading provider of commercial high-resolution Earth

    observation and advanced geospatial solutions.

            11.      DGIS is a subsidiary of DigitalGlobe, Inc. DGIS is an industry leader in

    processing and analyzing satellite imagery and other voluminous data. DGIS is part of the

    “services” branch of DigitalGlobe, Inc.’s business.

            12.      Mr. Paladino is a former managerial-level employee of DigitalGlobe. In his

    position at DigitalGlobe, Mr. Paladino managed a team of approximately thirty employees on

    projects generating multimillion-dollar annual revenues. He served in a managerial and



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    supervisory capacity and had access to the highest levels of DigitalGlobe’s confidential and

    proprietary information.

           The Non-Competition Agreement

           13.     As a condition of Mr. Paladino’s employment, the Parties executed the Non-

    Competition Agreement, Exhibit 1. Mr. Paladino electronically agreed to the terms of the Non-

    Competition Agreement on or about February 4, 2013.

           14.     In Section 1 of the Non-Competition Agreement, Mr. Paladino acknowledged that

    he would have access to certain confidential trade secrets and proprietary business information of

    DigitalGlobe (the “Confidential Information”).

           15.     In Section 6 of the Non-Competition Agreement, Mr. Paladino agreed that, for a

    period of twelve months after the termination of his employment, he would not “compete for any

    reason with [DigitalGlobe] in its direct business lines . . . by directly or indirectly taking any of

    the following actions: (a) owning, managing, operating, joining, controlling or providing services

    to any entity . . . that engages in or is seeking to engage in the current or planned business

    activities of [DigitalGlobe]; (b) serving as an employee, agent, consultant, officer, or director of

    any such entity; or (c) inducing or attempting to induce any customer, supplier, or business

    relation of [DigitalGlobe] to cease doing business with [DigitalGlobe], or in any other way

    interfering with the relationship between any customer, supplier or business relation and

    [DigitalGlobe].”

           16.     Mr. Paladino expressly acknowledged in Section 7 of the Non-Competition

    Agreement that the restrictions stated in Section 6 are reasonable and necessary to protect

    DigitalGlobe’s Confidential Information.




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            17.     Mr. Paladino also agreed in Section 8 of the Non-Competition Agreement that for

    a period of one year after termination of his employment with DigitalGlobe, he would not

    “directly or indirectly, recruit, solicit, attempt to persuade, or assist in the recruitment or

    solicitation of, any employee of [DigitalGlobe] who was an employee, officer or agent of

    [DigitalGlobe] during the three month period immediately preceding the date of termination of

    [his] employment, for the purpose of employing him or her or obtaining his or her services or

    otherwise causing him or her to leave his or her employment with [DigitalGlobe].”

            18.     Mr. Paladino acknowledged in Section 9(e) of the Non-Competition Agreement

    that DigitalGlobe would suffer irreparable harm from any violation of the Non-Competition

    Agreement and agreed that DigitalGlobe shall be entitled to injunctive relief in the event of

    violation or threatened violation of the Non-Competition Agreement.

            19.     Mr. Paladino entered into the Non-Competition Agreement as an executive or

    management employee, as defined in C.R.S. § 8-2-113(2)(d).

            20.     The purpose of the Non-Competition Agreement was, in part, to protect Digital

    Globe’s Confidential Information.

            The Stock Option Plan

            21.     Mr. Paladino has been granted DigitalGlobe stock as equity compensation on at

    least four occasions, as follows:

                           Grant Date        Granted Quantity        Shares Vested
                           07/24/2013              456                   342
                           02/05/2014              536                   402
                           02/18/2015             1,496                  748
                           02/17/2016             3,003                  751




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           22.     The estimated market value of the shares vested to date totals approximately

    $75,000.

           23.     As a condition of Mr. Paladino’s receipt of these DigitalGlobe shares, on each of

    these occasions, Mr. Paladino executed a Restricted Share Unit Award Agreement (“RSU

    Agreement”). On each occasion, the RSU Agreement specified that the award of shares was

    subject to Colorado law and to the terms and conditions of the Stock Option Plan, Exhibit 2.

           24.     Section 24 of the Stock Option Plan permits DigitalGlobe to “rescind any

    exercise, payment, or delivery pursuant to the Award (‘Rescission’), or recapture any Common

    Stock (whether restricted or unrestricted) or proceeds from [Mr. Paladino’s] sale of Shares issued

    pursuant to the Award (‘Recapture’), if [Mr. Paladino] does not comply with [Sections 24(b),

    24(c), or 24(d)].”

           25.     Section 24(b) of the Stock Option Plan requires a participant in the plan to

    preserve all Confidential Information received from DigitalGlobe—including “current and

    prospective customers; the identity of key contacts at such customers; customers’ particularized

    preferences and needs; marketing strategies and plans; financial data; personnel data;

    compensation data; proprietary procedures and processes; and other unique and specialized

    practices, programs and plans of [DigitalGlobe] and it customers and prospective customers”—

    and further specifies that Mr. Paladino shall not “divulge such Confidential Information or make

    use of it for his or her own purposes or the purposes of any person or entity other than

    [DigitalGlobe].”

           26.     Section 24(d) of the Stock Option Plan prohibits Mr. Paladino from competing

    with the Company for one year after termination of employment, and prohibits Mr. Paladino




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    from soliciting the services of other DigitalGlobe employees for two years after leaving. The

    provision states in relevant part:

           Each Participant agrees that . . . for a period beginning on the date of grant of each
           Award and ending (i) 1 year after termination of Continuous Service, regardless
           of the reason for such termination, he or she shall not, directly or
           indirectly . . . market, offer, sell or otherwise furnish any products or services
           similar to, or otherwise competitive with, those offered by [DigitalGlobe] to any
           customer of [DigitalGlobe]; and (ii) 2 years after termination of Continuous
           Service, regardless of the reason for such termination, he or she shall not, directly
           or indirectly, solicit, offer employment to, hire or otherwise retain the services of
           any employee or other service provider of [DigitalGlobe].

           27.      Section 24(f) of the Stock Option Plan provides that DigitalGlobe “may, in its

    sole and absolute discretion, impose a Termination, Rescission or Recapture with respect to any

    or all of [Mr. Paladino’s] relevant Awards, Shares, and the proceeds thereof,” if DigitalGlobe “in

    its sole and absolute discretion” determines that Mr. Paladino has violated any of the conditions

    of the Stock Option Plan, including the non-solicitation and non-competition provisions outlined

    in Sections 24(b) and (c).

           28.     Mr. Paladino accepted these equity compensation awards subject to the terms of

    the Stock Option Plan as an executive or management employee, as defined in C.R.S. § 8-2-

    113(2)(d).

           29.     The purpose of the non-competition and non-solicitation provisions of the Stock

    Option Plan was, in part, to protect Digital Globe’s Confidential Information.

           The Non-Disclosure Agreement

           30.     As a condition of his employment, Mr. Paladino executed the Non-Disclosure

    Agreement, Exhibit 3, with DigitalGlobe’s predecessor GeoEye Analytics, Inc. (“GeoEye”).




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           31.     DigitalGlobe acquired GeoEye in 2012, and as a consequence of that acquisition,

    DigitalGlobe succeeded GeoEye as to its rights as Mr. Paladino’s employer under the Non-

    Disclosure Agreement.

           32.     In Section D of the Non-Disclosure Agreement, Mr. Paladino agreed “not to

    solicit for employment (or to assist with such solicitation), or to hire (including employment as a

    full-time or part-time employee or as a consultant) any employee of the Company for a one-year

    period after the termination of Employee’s employment with the Company for any reason.”

           33.     In Section E of the Non-Disclosure Agreement, Mr. Paladino agreed that “[f]or a

    one-year period after the termination of Employee’s employment with the Company for any

    reason, [Mr. Paladino would not] solicit for advancing like products or services (or to assist with

    such solicitation) any customer or client of the Company with whom the Employee had dealings

    or about whom the Employee acquired proprietary information during his or her employment.”

           34.     Section F of the Non-Disclosure Agreement provides: “Because of the unique

    nature of the Proprietary Information and employee and customer relationships, the Employee

    understands and agrees that the Company will suffer irreparable harm in the event that the

    Employee fails to comply with any of his or her obligations under Sections B, C, D, and E above

    and that monetary damages will be inadequate to compensate the Company for such breach.

    Accordingly, the Employee agrees that the Company will, in addition to any other remedies

    available to them at law or equity, be entitled to injunctive relief to enforce the terms of Sections

    B, C, D, and E.”

           35.     Mr. Paladino entered into the Non-Disclosure Agreement as an executive or

    management employee, as defined in C.R.S. § 8-2-113(2)(d).




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           36.     The purpose of the Non-Disclosure Agreements was, in part, to protect Digital

    Globe’s Confidential Information.

           Mr. Paladino’s Breach of the Agreements and Tortious Conduct

           37.     While still employed by DigitalGlobe, Mr. Paladino carried out a plan to divert

    DigitalGlobe work and corporate opportunities for his own purposes.

           38.     While he was still employed by DigitalGlobe, Mr. Paladino was instrumental in

    diverting work DigitalGlobe was performing for the United States government to BigBear, Inc.

    (“BigBear”), a direct competitor of DigitalGlobe.

           39.     In particular, Mr. Paladino communicated with a government representative who

    was a key contact point and decision-maker for the United States government regarding the work

    DigitalGlobe was performing on its behalf. Upon information and belief, through these

    communications, Mr. Paladino deliberately sought to divert work from DigitalGlobe to BigBear

    while Mr. Paladino was still employed by DigitalGlobe.

           40.     In or around June of 2017, Mr. Paladino began working for BigBear.

           41.     In his employment with BigBear, Mr. Paladino has been specifically engaged to

    perform work for the United States government that was previously performed by DigitalGlobe,

    at least in part under Mr. Paladino’s supervision.

           42.     While employed at DigitalGlobe and after his termination, Mr. Paladino has

    actively solicited DigitalGlobe employees to terminate their employment with DigitalGlobe and

    begin employment at BigBear.

           43.     For example, Paladino met with a DigitalGlobe employee and the President of

    BigBear at a brewery for the purpose of recruiting that employee to work at BigBear.




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          44.     Paladino has communicated to certain DigitalGlobe employees his intention to

   start his own company, after a short stint with BigBear, to perform the United States government

   work that was previously performed by DigitalGlobe.

          45.     Mr. Paladino has solicited and attempted to recruit a number of DigitalGlobe

   employees to leave DigitalGlobe and work on the United States government project at BigBear

   and/or at Mr. Paladino’s anticipated new venture.

          46.     Two former DigitalGlobe employees have recently left DigitalGlobe’s

   employment, and have indicated to DigitalGlobe their intention to begin work with Mr. Paladino

   at BigBear.

          47.     Both of the DigitalGlobe employees who have already left to go to BigBear are

   also subject to contractual Non-Disclosure Agreements not to solicit DigitalGlobe customers or

   employees, and not to disclose or use DigitalGlobe confidential information.

          48.     Several other employees have indicated their intention to leave DigitalGlobe to

   work with Mr. Paladino at BigBear.

          49.     Most or all of the DigitalGlobe employees solicited by Mr. Paladino are also

   subject to contractual agreements not to compete, not to solicit DigitalGlobe employees, and to

   preserve DigitalGlobe confidential information.

          50.     By correspondence from its counsel dated June 23, 2017, DigitalGlobe advised

   Mr. Paladino that his conduct was in breach of his contractual agreements not to compete with

   DigitalGlobe and not to solicit other DigitalGlobe employees.

          51.     Within two business days of that correspondence, Mr. Paladino responded with

   additional communications to DigitalGlobe employees referring to his dispute with DigitalGlobe,




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   for the purpose of encouraging certain DigitalGlobe employees to leave the company and join

   Mr. Paladino at BigBear.

          52.       Mr. Paladino has violated the terms of the above-mentioned Agreements in

   multiple ways:

                    a.     Mr. Paladino has made use of DigitalGlobe’s Confidential Information for

                           the benefit of BigBear, a direct competitor of DigitalGlobe.

                    b.     Mr. Paladino has made use of DigitalGlobe’s Confidential Information for

                           his own benefit.

                    c.     Mr. Paladino has acted in competition with DigitalGlobe while still

                           employed by DigitalGlobe and after his termination by diverting

                           DigitalGlobe business to BigBear.

                    d.     Mr. Paladino has acted in competition with DigitalGlobe by performing

                           services for BigBear or its customer, competitive with services provided

                           by DigitalGlobe.

                    e.     Mr. Paladino has actively solicited other employees of DigitalGlobe to

                           cease working for DigitalGlobe and instead work for BigBear and/or for

                           an anticipated venture of his own.

          53.       Mr. Paladino has also breached his duty of loyalty to DigitalGlobe by directly

   competing with DigitalGlobe while still employed by DigitalGlobe, by acting to usurp

   DigitalGlobe corporate opportunities for himself or for a DigitalGlobe competitor, by soliciting

   DigitalGlobe’s customers and employees while still employed by DigitalGlobe, and by failing to

   act solely for the benefit of DigitalGlobe in all matters connected to Mr. Paladino’s employment.




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          54.      As outlined and agreed to in the Non-Competition Agreement and Non-

   Disclosure Agreement, Mr. Paladino’s conduct has caused and will continue to cause

   DigitalGlobe irreparable harm for which there is no adequate remedy at law, entitling

   DigitalGlobe to injunctive relief.


                                    FIRST CLAIM FOR RELIEF

                            (Breach of the Non-Competition Agreement)

          55.     DigitalGlobe incorporates the allegations above as if fully stated in this paragraph.

          56.     The Non-Competition Agreement is an enforceable contract between

   DigitalGlobe and Mr. Paladino.

          57.     The non-competition provisions within the Non-Competition Agreement

   constitute valid and enforceable covenants not to compete pursuant to C.R.S. § 8-2-113(2). Mr.

   Paladino was an executive or management employee within the meaning of C.R.S. § 8-2-

   113(2)(d), and the purpose of the non-competition covenants was and is to protect DigitalGlobe’s

   Confidential Information, including trade secrets, and the covenant is reasonably limited in scope

   to the protection of that Confidential Information.

          58.     As a condition of his employment, Mr. Paladino agreed that he would not work

   for a competitor, solicit DigitalGlobe’s employees, or solicit DigitalGlobe’s customers during

   and after termination of his employment.

          59.     Mr. Paladino agreed that the non-competition and non-solicitation covenants

   within the Non-Competition Agreement were reasonable and that a violation of those provisions

   would cause DigitalGlobe irreparable harm.




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           60.     Mr. Paladino breached the Non-Competition Agreement by soliciting

   DigitalGlobe’s customers and employees and by working for a direct competitor of DigitalGlobe

   immediately after his termination.

           61.     DigitalGlobe performed its part of the Agreement or was excused from such

   performance.

           62.     As a result of Mr. Paladino’s breaches, DigitalGlobe is entitled to injunctive relief

   and monetary damages from Mr. Paladino in an amount to be proven at trial. DigitalGlobe is

   also “entitled to recover all of its legal fees and all other expenses of litigation” pursuant to

   Section 9(e) of the Non-Competition Agreement.

           63.     All conditions precedent, concurrent, or subsequent to DigitalGlobe’s rights and

   ability to bring this claim have taken place, have otherwise been met, have been waived, or have

   otherwise been excused.


                                    SECOND CLAIM FOR RELIEF

                                   (Breach of the Stock Option Plan)

           64.     DigitalGlobe incorporates the allegations above as if fully stated in this paragraph.

           65.     The Stock Option Plan is an enforceable contract between DigitalGlobe and Mr.

   Paladino.

           66.     The non-competition provisions within the Stock Option Plan constitute valid and

   enforceable covenants not to compete pursuant to C.R.S. § 8-2-113(2). Mr. Paladino was an

   executive or management employee within the meaning of C.R.S. § 8-2-113(2)(d), and the

   purpose of the non-competition covenants was and is to protect DigitalGlobe’s Confidential

   Information, including trade secrets, and the covenant is reasonably limited in scope to the

   protection of that Confidential Information.

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          67.     As a condition of Mr. Paladino’s receipt of DigitalGlobe stock, Mr. Paladino

   agreed that he would not work for a competitor, solicit DigitalGlobe’s employees, or solicit

   DigitalGlobe’s customers during and after termination of his employment.

          68.     Mr. Paladino breached the Non-Competition Agreement by soliciting

   DigitalGlobe’s customers and employees and by working for a direct competitor of DigitalGlobe

   immediately after his termination.

          69.     DigitalGlobe performed its part of the Agreement or was excused from such

   performance.

          70.     As a result of Mr. Paladino’s breaches, DigitalGlobe is entitled to Rescission

   and/or Recapture of Mr. Paladino’s stocks, as provided in the Stock Option Plan and monetary

   damages from Mr. Paladino in an amount to be proven at trial.

          71.     All conditions precedent, concurrent, or subsequent to DigitalGlobe’s rights and

   ability to bring this claim have taken place, have otherwise been met, have been waived, or have

   otherwise been excused.


                                   THIRD CLAIM FOR RELIEF

                             (Breach of the Non-Disclosure Agreement)

          72.     DigitalGlobe incorporates the allegations above as if fully stated in this paragraph.

          73.     The Non-Disclosure Agreement is an enforceable contract between DigitalGlobe

   and Mr. Paladino.

          74.     The non-competition provisions within the Non-Disclosure Agreement constitute

   valid and enforceable covenants not to compete pursuant to C.R.S. § 8-2-113(2). Mr. Paladino

   was an executive or management employee within the meaning of C.R.S. § 8-2-113(2)(d), and

   the purpose of the non-competition covenants was and is to protect DigitalGlobe’s Confidential

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   Information, including trade secrets, and the covenant is reasonably limited in scope to the

   protection of that Confidential Information.

          75.     As a condition of his employment, Mr. Paladino agreed that he would not work

   for a competitor, solicit DigitalGlobe’s employees, or solicit DigitalGlobe’s customers during

   and after termination of his employment.

          76.     Mr. Paladino agreed that the non-competition and non-solicitation covenants

   within the Non-Disclosure Agreement were reasonable and that a violation of those provision

   would cause DigitalGlobe irreparable harm.

          77.     Mr. Paladino breached the Non-Disclosure Agreement by soliciting

   DigitalGlobe’s customers and employees and by working for a direct competitor of DigitalGlobe

   immediately after his termination.

          78.     DigitalGlobe performed its part of the Agreement or was excused from such

   performance.

          79.     As a result of Mr. Paladino’s breaches, DigitalGlobe is entitled to injunctive relief

   and monetary damages from Mr. Paladino in an amount to be proven at trial.

          80.     All conditions precedent, concurrent, or subsequent to DigitalGlobe’s rights and

   ability to bring this claim have taken place, have otherwise been met, have been waived, or have

   otherwise been excused.


                                  FOURTH CLAIM FOR RELIEF

                                   (Breach of the Duty of Loyalty)

          81.     DigitalGlobe incorporates the allegations above as if fully stated in this paragraph.

          82.     As DigitalGlobe’s employee, Mr. Paladino had a duty of loyalty to act solely for

   the benefit of DigitalGlobe in all matters connected with Mr. Paladino’s employment.

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          83.     Mr. Paladino breached that duty of loyalty by, among other things, usurping

   DigitalGlobe corporate opportunities and by directly soliciting DigitalGlobe’s customers and

   employees while still employed at DigitalGlobe.

          84.     Mr. Paladino’s breach of his duty of loyalty has directly caused DigitalGlobe

   damages.


                                    FIFTH CLAIM FOR RELIEF

                                          (Declaratory Relief)

          81.     DigitalGlobe incorporates the allegations above as if fully stated in this paragraph

          82.     Pursuant to the Stock Option Plan, DigitalGlobe is entitled to take possession of

   all DigitalGlobe shares acquired by Mr. Paladino pursuant to the Stock Option Plan (the

   “Shares”).

          83.     The Stock Option Plan explicitly provided that DigitalGlobe may Recapture or

   Rescind the Shares if DigitalGlobe finds, in its sole discretion, that certain terms and conditions

   of the Stock Option Plan have been violated.

          84.     Mr. Paladino violated the terms of the Stock Option Plan by, among other things,

   using DigitalGlobe’s Confidential Information for Mr. Paladino’s own benefit, acting in

   competition with DigitalGlobe while still employed by Digital Globe, acting in competition with

   DigitalGlobe by working for DigitalGlobe’s direct competitor, and actively soliciting

   DigitalGlobe’s employees.

          85.     DigitalGlobe sent a letter to Mr. Paladino on June 23, 2017 providing Mr.

   Paladino with ten (10) days to deliver the Shares or any gain realized or payment received from




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   sale of the Shares. Ten days has passed and the Shares are being detained by Mr. Paladino

   against DigitalGlobe’s claim of right to possession of the Shares.

          86.     DigitalGlobe is entitled to declaratory relief that it is entitled to invoke Paragraph

   24 of the Stock Option Plan and Recapture and/or Rescind the Shares.

          87.     DigitalGlobe is further entitled to declaratory relief that Mr. Paladino must deliver

   the Shares to DigitalGlobe or repay the fair market value of the Shares.

          88.     There is no other person or entity with a superior right to, or possessory interest in

   the Shares.




                                       PRAYER FOR RELIEF


          WHEREFORE, DigitalGlobe respectfully requests that this Court enter judgment in its

   favor, and against Defendant, for the following:

          A.      Injunctive relief enjoining Mr. Paladino from working for BigBear, enjoining Mr.

   Paladino from starting his own competing venture, enjoining Mr. Paladino from soliciting

   DigitalGlobe’s employees and customers, and enjoining Mr. Paladino from using and/or sharing

   DigitalGlobe’s Confidential Information.

          B.      Damages in an amount to be proven at trial;

          C.      Declaratory relief declaring that Mr. Paladino must deliver his rescinded or

   recaptured Shares to DigitalGlobe or repay the fair market value of the Shares;

          D.      Attorneys’ fees, interest, costs, and expenses, including expert witness fees; and

          E.      Any other relief that this Court deems just and proper.




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                                            Jury Demand


         DigitalGlobe demands a trial by jury.


         Dated this 2nd day of August, 2017.

                                      BROWNSTEIN HYATT FARBER SCHRECK, LLP



                                      By:             s/John V. McDermott
                                                 John V. McDermott, #11854
                                                 Van Aaron Hughes, #19812
                                                 Craig M. Finger, #50134

                                      ATTORNEYS FOR PLAINTIFFS DIGITALGLOBE,
                                      INC. AND DIGITALGLOBE INTELLIGENCE
                                      SOLUTIONS, INC.




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